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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 CIRBA INC. (d/b/a DENSIFY)                           Civil Action No. 1:19-cv-00742-LPS
 and CIRBA IP, INC.,

                         Plaintiffs,
                                                      JURY TRIAL DEMANDED
             v.

 VMWARE, INC.,

                         Defendant.


             [DENSIFY’S PROPOSED] JUDGMENT FOLLOWING JURY VERDICT
         The claims asserted by Plaintiffs CIRBA INC. (d/b/a DENSIFY) and CIRBA IP, INC.

(collectively, “Plaintiffs” or “Densify”) in Claims I through V of the First Amended Complaint

and the defenses asserted thereto by Defendant VMWARE, INC. in this action came before the

court for trial beginning January 13, 2020, before a duly impaneled and sworn jury. The issues

have been tried and the jury rendered a verdict on January 24, 2020. The verdict was

accompanied by the verdict form (D.I. 549), the redacted version of which is attached to this

Judgment (D.I. 550). Said verdict form was signed by the foreperson and all jurors as a

unanimous verdict, and the verdict was accepted by the Court and filed by the Clerk.

         Therefore, pursuant to Federal Rule of Civil Procedure 58, JUDGMENT is hereby

entered in this matter as follows:

         IT IS ORDERED AND ADJUDGED that judgment be and hereby is entered in favor of

Plaintiffs Cirba Inc. (d/b/a Densify) and Cirba IP, Inc. (collectively, “Densify”) and against

Defendant VMware, Inc. (“VMware”) on claims of infringement with respect to claims 3 and 7

of U.S. Patent No. 8,209,687 (the ’687 Patent), and on claims of infringement with respect to

claims 1, 9, 13, and 17 of U.S. Patent No. 9,654,367 (the ’367 Patent).


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         IT IS ORDERED AND ADJUDGED that judgment be and hereby is entered in favor of

Densify and against VMware, Inc. that VMware’s infringement of the ’687 and the ’367 patents

was willful.

         IT IS ORDERED AND ADJUDGED that judgment be and hereby is entered in favor of

Densify and against VMware, Inc. that the ’687 and the ’367 patents are not invalid.

         IT IS ORDERED AND ADJUDGED that judgment be and hereby is entered in favor of

Defendant VMware and against Densify with respect to Densify’s claims for violation of 15

U.S.C § 1125(a), Deceptive Trade Practices under Delaware Law and Common Law Trademark

Infringement.

         IT IS ORDERED AND ADJUDGED that judgment be and hereby is entered in favor of

Densify and against VMware for damages in the amount of $235,724,765 for VMware’s

infringement of the ’687 Patent, subject to any enhanced damages, interest, fees and/or costs that

may be subsequently sought and awarded.

         IT IS ORDERED AND ADJUDGED that judgment be and hereby is entered in favor of

Densify and against VMware for damages in the amount of $1,112,111 for VMware’s

infringement of the ’367 Patent, subject to any enhanced damages, interest, fees and/or costs that

may be subsequently sought and awarded.

         IT IS ORDERED AND ADJUDGED that this Judgment shall have the effect of denying

as moot all motions made by the parties pursuant to Federal Rule of Civil Procedure 50(a).

         This JUDGMENT is not a Final Judgment and instead serves to trigger the time for the

filing of post-trial motions on issues that were decided by the jury, as well as other post-trial

matters, including any motion by Densify for motions for enhancement of damages, permanent




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injunction, post-verdict ongoing royalty, attorney’s fees, costs, pre-judgment interest, post-

judgment interest or other relief.1



Dated: _____________________



                                            ____________________________________
                                            Chief Judge




                                            ____________________________________
                                            (By) Deputy Clerk




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         For avoidance of doubt, entry of this non-final JUDGMENT is not intended to trigger
the 30-day period under Fed. R. App. P. 4(a)(1) for VMware to appeal the jury’s verdict or any
of the Court’s pretrial rulings.

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